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                   IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA                        P
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                                                                                  3'   ,
                                        Alexandria Division
                                                                                             OCT - I 2018
UNITED STATES OF AMERICA,                        )                      '         CLfcPK. MS. ni'-lF,:-- . -.l iRi
                                                 )                      ;                  alt-   . V-:- - '-.
         Government,                             )
                                                 )
         V.                                      ) Case No. l:I8-mj-470
                                                 )
ANDREAS ROTHENBACH,                              )
                                                 )
         Defendant.                              )


                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT



I, Jeffrey A. Fuller, being duly sworn, depose and state:


1.     I am a Special Agent with the Federal Bureau of Investigation (FBI) at Dulles, Virginia. I
have been employed with the FBI for more than 14 years. Since May 2016,1 have been assigned
to the Washington Dulles International Airport office ofthe FBI, where I investigate violations of
federal law which occur within the airport environment and onboard aircraft. Title 49 United
States Code, Section 46501 establishes the Special Aircraft Jurisdiction of the United States and
gives the federal government jurisdiction in all criminal matters occurring on any civil aircraft of
the United States while in flight regardless of departure or arrival location.


2.     My duties as a Special Agent with FBI include, but are not limited to, investigating criminal
violations of Title 49 of the United States Code and seeking, when applicable, prosecution of
violators. I have received training in general law enforcement, including training in Title 49 ofthe
United States Code.



3.     This affidavit is in support of a criminal complaint against Andreas Rothenbach
(ROTHENBACH),a German national, for violation ofTitle 18 U.S.C., Section 113(a)(4), Assault
by striking, beating, or wounding, which occurred on September 29, 2018 aboard United Airlines
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